AO 98 (Rev. 8/85)

 

United States District Court

EASTERN DISTRICT OF TENNESSEE yee ae
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UNITED STATES OF AMERICA - .
APPEARANGH ROADS PF 34

Case Number: 2:09-CR-13 | |
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uA

V.

SHANNON NICHOLE WIDENER
Defendant

Non-surety: I, the undersigned defendant, acknowledge that I and my...
Surety: We, the undersigned, jointly and severally acknowledge that we and our .
Be repre seuitives, jointly and severally, ar are bound to o pay to > the United States of America the sum of

q_ cash or (describe othersecurity,).
> . LOS

The conditions of this bond are that the defendant is to appear before this court and at such other places as the
defendant may be required to appear, in accordance with any and all orders and directions relating to the defendant's
appearance in this case, including appearance for violation of a condition of defendant's release as may be ordered or
notified by this court or any other United States district court to which the defendant may be held to answer or the cause
transferred. The defendant is to abide by any judgment entered in such a matter by surrendering to serve any sentence
imposed and obeying any order or direction in connection with such judgment.

 

 

 

It is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which
shall continue until such time as the undersigned are exonerated.

If the defendant appears as ordered or notified and otherwise obeys and performs the foregoing conditions of this
bond, then this bond is to be void, but if the defendant fails to obey or perform any of these conditions, payment of the
amount of this bond shall be due forthwith. Forfeiture of this bond for any breach of its conditions may be declared by
any United States district court having cognizance of the above entitled matter at the time of such breach and if the bond
is forfeited and if the forfeiture is not set aside or remitted, judgment may be entered upon motion in such United States
district court against each debtor jointly and severally for the amount above stated, together with interests and costs, and
execution may be issued and payment secured as provided by the Federal Rules of Criminal Procedure and any other laws

of the United States.
This bond signed on d-(£-0 q at Ge eoavss Lhe 4 MU
ate ace

Defendant. J hannent) LU) Nd pw Address. _

 

 

 

 

 

 

Surety. Address. _
Surety. Address. _ |
Signed and acknowledged before me on oA TC 80 7
Date
Judicial Officer/Clerk
Approved: /

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